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DATED this 22nd day of April, 2013.


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                                      LARRY R. HICKS
                                      UNITED STATES DISTRICT JUDGE
